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    Respondent

             IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF HAWAl'I

ALBERT IAN SCHEWEITZER,     ) CIV. NO. 05-00065 DAE/LEK
                            )
          Petitioner.       )
                            ) RESPONDENT STATE OF
      vs.                   ) HAWAII'S EXHIBIT LIST
                            )
JAMES COOK, JOHN F. PEYTON, )
                            )
          Responden~ .      )
                            )
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         RESPONDENT STATE OF HAWAII'S EXHIBIT LIST
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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAI'I

          ALBERT IAN SCHEWEITZER,               ) CIV. NO. 05-00065 DAE/LEK
                                                )
                        Petitioner.             ) RESPONDENT STATE OF
                                                ) HAWAII'S EXHIBIT LIST
                  vs.                           )
                                                )
          JAMES COOK, JOHN F. PEYTON,           )
                                                )
                        Respondents.            )


                    RESPONDENT STATE OF HAWAII'S EXHIBIT LIST

          No.            Filed          DescriQtion
             1.          04/24/00       Judgment of Defendant Albert Ian
                                        Schweitzer, Cr. No. 99-147.
             2.          10/ 14/99      Judgment of Defendant Frank Pauline, Jr.,
                                        Cr. No. 97-256.
             3.          05/11/00       Judgment of Defendant Shawn Schweitzer,
                                        Cr. No. 99-147.
             4.          05115100       Appellant's Opening Brief; Appendix A
                                        and Certificate of Service, No. 23465,
                                        Supreme Court of the State of Hawaii,
                                        Cr. No. 99-147.
             5.          04116/01       Appellant's Reply Brief; Appendix A and
                                        Certificate of Service, No. 23465, Supreme
                                        Court of the State of Hawaii,
                                        Cr. No. 99-147.
             6.          03/22/00       Answering Brief of Plaintiff-Appellee State
                                        of Hawaii; Certificate of Service, No.
                                        23465, Supreme Court of the State of
                                        Hawaii, Cr. No. 99-147.
             7.          01/29/04       Summary Disposition Order, Supreme
                                        Court of the State of Hawaii, No. 23465,
                                        Cr. No. 99-147
8.     05103105   Findings and Recomme ndation to Dismiss
                  Petition for Writ of Habeas Corpus by the
                  United States Magistrat e Judge,
                  Civ. No. 05-00065 , United States District
                  Court, District of Hawaii.
9.     05120105   Petitioner ' s Notificati on of Court
                  Regardin g Findings & Recomme ndations
                  to Dismiss Petition for Writ of Habeas
                  Corpus (Second Amended Petition,
                  Addenda) , Civ. No. 05-00065 , United
                  States District Court, District of Hawaii.
10.               Index of Selected Trial Transcrip ts
1 1.              I_n dex of Motion to Change Venue
                  Materials
       09130199        A . Defendan t Albert Ian Schweitze r' s
                           Motion to Change Venue;
                           Declarati on of James Biven;
                           Memoran dum in Support of Motion;
                           Notice of Hearing; and Certificat e of
                           Service (Cr. No. 99-147).
       10/14/99        B. Suppleme ntal Declarati on of James
                           Biven Regardin g Motion to Change
                           Venue; Certificate ofService ; and
                           Exhibit "A" (Cr. No. 99-147).
       11/08/99        C. Order Denying Without Prejudice
                           Defendan t Shawn Schweitz er's
                           Motion for Change of Venue,
                           and Order Denying Without
                           Prejudice Defendan t Albert Ian
                           Schweitz er's Motion to Change
                           Venue (Cr. No. 99-147).
       05/15/00        D . Order Denying Defendan t Albert Ian
                           Schweitz er's Motion for New Trial
                           (Cr. No. 99-147).
12.                Index of Motions Filed by Petitione r's
                   Counsel
 13.   9130199     Defendan t' s Albert Ian Schweitz er's Notice
                   of Alibi, Cr. No. 99-147, Third Circuit
                   Court, State of Hawaii.
 14.               maex or Jury 5eie'-'L~vu iviaLc1~ai:s .

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A. Jury seating chart, Cr. No. 99-147,
    dated 01/18/00.
B. Jury Panelist Questionnaires (in
    alphabetical order) for jury.
C. Transcript of Proceedings held on
    December 21, 1999, Cr. No. 99-147,
    regarding Voir Dire Examinations of
    Emilio Agpaoa and Gwen Ancheta.
D. Transcript of Proceedings held
    January 24, 2000,
    Vol. I, Cr. No. 99-147, regarding
    agreement excusing Gwen Ancheta
    from jury selection.
E. Transcript of Proceedings held on
    December 22, 2000, Cr. No. 99-147,
    regarding Voir Dire Examination of
    Kathleen Colburn.
F. Transcript of Proceedings held
    December 23, 1999, Cr. No. 99-147,
    regarding testimony of Harvey
    Fukushima.
G. Transcript of Proceedings held
     January 5, 2000, Cr. No. 99-147,
     regarding testimony of Marcie
     Greenwell.
H. Transcript of Proceedings held
     December 29, 1999, Cr. No. 99-147,
     regarding Voir Dire Examination of
     Robert Medeiros.
I. Transcript of Proceedings held
     December 29, 1999, Vol. II, Cr. No.
     99-147, regarding testimony of
     Joseph Nimori.
 J. Transcript of Proceedings held
     December 30, 1999, Cr. No. 99-147,
     regarding testimony of Gavin
     Okimura.
 K. Transcript of Proceedings held
     December 30, 1999, Cr. No. 99-147,
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                                        Patterson and Maria Pendered.
                                    L. Transcript of Proceedings held
                                        January 3, 2000, Cr. No. 99-147,
                                        regarding Voir Dire Examinations of
                                        George Santos and Mamo Shontell.
                                    M. Transcript of Proceedings held
                                        January 4, 2000, Cr. No. 99-147,
                                        regarding V oir Dire Examination of
                                        Taryn Wailani.
           15.                   Index of Alleged Leading Questions
                                 Argued in Petitioner's Opening Brief. ·
                                    A. Petitioner's Opening Brief at 12;
                                         (1/24/00 Tr. at 58) line 8.
                                     B. Petitioner's Opening Brief at 12;
                                        (1/24/00 Tr. at 63) line 24.      ,
                                     C. Petitioner' s Opening Brief at 14;
                                        (1/24/00 Tr. at 204) line 21.
                                     D. Petitioner's Opening Brief at 18,
                                        Footnote 36; (1/26/00 Tr. at 77) line
                                        2; (1/26/00 Tr. at 79) line 8, 11, 20;
                                         (1/26/00 Tr. at 80) line 13, 22.
                                     E. Petitioner's Opening Brief at 22; ·
                                        (212100 Tr. at 7) line 10, 15, 19).
           16.                   Index of Testimony of John Gonsalves.
                                     A. State of Hawaii's Motion to Allow
                                        Complete Testimony of Agreement
                                        of Witness John Gonsalves.
                                        (1131/00)
                                      B. Court's granting of State's motion.
                                          (212100 Tr. at 89) line 16; discussed
                                          in Petitioner's Opening Brief at 36.
                                      C. Actual testimony of John
                                          Gonsalves. (2/2/00 Tr. at 185) lines
                                          8-23; discussed in Petitioner's
                                          Opening Brief at 36.




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